                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                       v.                             )       No. 09-4003-04-CR-C-NKL
                                                      )
DeMARCO LARON BURNETT,                                )
                                                      )
                               Defendant.             )

                            REPORT AND RECOMMENDATION

       This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.
       On June 8, 2009, a hearing was held on the motions to suppress, for change of venue and
to sever filed by defendant DeMarco Laron Burnett. Defendant Burnett appeared in person and
was represented by counsel Brian David Risley.
       Defendant Burnett’s motion requesting the court to sever his case from that of the other
defendants was addressed at the hearing. Defendant Burnett argued that the court should sever
his case from that of the other defendants because he was incarcerated in the Missouri
Department of Corrections for all but approximately ten to twelve weeks of the two-year period
charged in the indictment. Burnett argues his involvement in the conspiracy is limited to drugs
and that he was not involved in the other charges in the indictment, such as the firearms offenses
alleged. Burnett argues that because the case involves sixteen defendants and multiple different
charges, the case is too complex for a jury to compartmentalize the evidence and Burnett will not
receive a fair trial involving his Fifth and Sixth Amendment rights.
       Joinder is proper under Rule 8(b) where codefendants “are alleged to have participated in
the same act or transaction or in the same series of acts or transactions constituting an offense or
offenses.” Fed. R. Crim. P. 8(b). Indeed, there is a preference for joint trials under the Federal
Rules. Zafiro v. United States, 506 U.S. 534, 537 (1993); United States v. Ruiz, 446 F.3d 762,
772 (8th Cir. 2006). A court may grant a defendant’s motion to sever where “joinder of offenses



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and defenses in an indictment . . . appears to prejudice a defendant. Fed. R. Crim. P. 14.
However, a “district court should grant a severance under Rule 14 only if there is a serious risk
that a joint trial would compromise a specific trial right of one of the defendants, or prevent the
jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 539.
        Defendant Burnett is charged in a multi-count indictment. In Count One, he is charged
jointly with fifteen codefendants with conspiracy to distribute cocaine base, cocaine and
marijuana. In Counts Six and Nine, he is charged with possession with the intent to distribute
cocaine base.
        The fact that defendant is not charged in all counts of the indictment does not mean he is
improperly joined, pursuant to Rule 8(b). The charges against all defendants in the indictment
relate to the same series of acts constituting the offenses for which they are charged. Defendant
Burnett and numerous other defendants have been properly joined and indicted, pursuant to Rule
8(b), on conspiracy charges related to distribution of cocaine base, cocaine and marijuana.
        When defendants are indicted together, pursuant to Rule 8(b), there is a preference for
joint trials. Zafiro, 506 U.S. at 537. Separate trials are not required under Rule 14 just because
defendant Burnett did not participate in all aspects of the conspiracy. United States v. Kaminski,
692 F.2d 505, 520 (8th Cir. 1982). To show prejudice requiring severance, a defendant must
demonstrate that the jury would be unable to compartmentalize the evidence as it relates to the
separate defendants. United States v. Ruiz, 446 F.3d at 772. Defendant Burnett can point to no
specific items of prejudice, such as an interlocking confession, which cannot be handled by an
appropriate limiting instruction to a jury. Zafiro v. United States, 506 U.S. at 540. Defendant
Burnett’s argument that it is unfair for him go to trial with other allegedly more culpable
defendants in the conspiracy indictment fails to allege prejudice requiring severance. Persons
charged in a conspiracy are generally tried together, especially where proof of the charges against
each of the defendants is based on the same evidence and acts. United States v. O’Meara, 895
F.2d 1216, 1218 (8th Cir. 1990); see also United States v. Searing, 984 F.2d 960, 965 (8th Cir.
1993) (in the context of a conspiracy, severance will rarely, if ever, be required). Further,
defendant Burnett is not entitled to severance merely because he may have a better chance of
acquittal in separate trials. Id. at 540.


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       This court finds no special issue of prejudice has been raised by defendant which makes
this case different from any other multi-defendant drug conspiracy case that goes to trial. Any
alleged risk of prejudice can be cured by less drastic measures, such as a limiting instruction to
the jury. Zafiro, 506 U.S. 538-39.
       IT IS, THEREFORE, RECOMMENDED that defendant Burnett’s motion for severance
be denied. [215]
       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 30th day of June, 2009, at Jefferson City, Missouri.



                                              /s/   William A. Knox
                                              WILLIAM A. KNOX
                                              United States Magistrate Judge




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